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v. No:oa-zsss-ylp

HOME TECH SERV|CES CO., lNC.,
MEMPH|S FlNANClAL SERV|CES, lNC.
WORLDW|DE MORTGAGE CORPORAT|ON
NOVASTAR MORTGAGE, lNC.

PERK|NS, JOHNSON, AND SETTLE, PLLC
GREGG DREW

Defendants.

 

{;EEBEB%ED] ORDER GRANT|NG PROTECTIVE ORDER

 

COME NOW the Defendants Home Tech Services Co., |nc., Nlemphis Financial
Services, |nc., and Worldwide |Viortgage Corporation (“Defendants), for a protective
order concerning Rule 26 expert disclosures Upon consideration of the matter, it
appears the Defendants motion should be granted.

|T |S THEREFORE ORDERED that Defendants expert disclosure shall be due

not less than sixty (60) days after P|aintiffs makes Rule 26(a) disclosures and responds

M

U.S. Magistrate Judge

Date: A\F\S\JA»'R' \"l, 'LCD§'

fully to all outstanding discovery.

 

This document entered on the docket sheet in cgmpliance d
with Rule 53 and/or term FRcP on j ’/<d’/U d 3

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 316 in
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Honorable Bernice Donald
US DISTRICT COURT

